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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

SIERRA CLUB,                                          §
                                                      §
                 Plaintiffs,                          §
                                                      §
v.                                                    §                   1:20-CV-460-RP
                                                      §
UNITED STATES ARMY CORPS OF                           §
ENGINEERS, et al.,                                    §
                                                      §
                 Defendants.                          §

                                                 ORDER

         Before the Court is Kinder Morgan Texas Pipeline LLC and Permian Highway Pipeline

LLC’s (together, “Movants”) Unopposed Motion to Intervene in Support of Defendants, (the

“Motion to Intervene”). (Mot. Intervene, Dkt. 16). Plaintiff Sierra Club (“Sierra Club”) does not

oppose the relief sought, and Defendants United States Army Corps of Engineers and its officers1 in

their official capacities (together, “Federal Defendants”) take no position. (Id. at 2, 13). Having

considered the Motion to Intervene, the record, and the relevant law, the Court will grant the

Motion to Intervene.

         Movants seek to intervene both by right and permissively. (Mot. Intervene, Dkt. 16, at 5–10).

Intervention by right is governed by Federal Rule of Civil Procedure 24(a). To intervene by right, the

prospective intervenor either must be “given an unconditional right to intervene by a federal

statute,” Fed. R. Civ. P. 24(a)(1), or must meet each of the four requirements of Rule 24(a)(2):

     (1) the application for intervention must be timely; (2) the applicant must have an interest
     relating to the property or transaction which is the subject of the action; (3) the applicant
     must be so situated that the disposition of the action may, as a practical matter, impair or
     impede his ability to protect that interest; (4) the applicant’s interest must be inadequately
     represented by the existing parties to the suit.


1Lieutenant General Todd T. Semonite, Colonel Kenneth N. Reed, Colonel Timothy R. Vail, Brandon W.
Mobley, and Kristi McMillan.


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Texas v. United States, 805 F.3d 653, 657 (5th Cir. 2015). “Although the movant bears the burden of

establishing its right to intervene, Rule 24 is to be liberally construed.” Id. (citations omitted).

“Federal courts should allow intervention where no one would be hurt and the greater justice could

be attained.” Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir.1994) (internal quotation marks

omitted). However, the Fifth Circuit has also cautioned courts to be “circumspect about allowing

intervention of right by public-spirited citizens in suits by or against a public entity for simple

reasons of expediency and judicial efficiency.” City of Hous. v. Am. Traffic Sols., Inc., 668 F.3d 291, 294

(5th Cir. 2012).

        In this case, Movants’ Motion to Intervene is timely; Movants have legally protected interests

at stake in the suit; the disposition of this case may impair Movants’ ability to protect their interests;

and the Federal Defendants may not adequately represent Movants’ interests. Because Sierra Club

does not oppose and the Federal Defendants chose not to take a position and because Movants

meet all four prongs of Rule(a)(2), this Court will grant the Motion to Intervene as of right. Having

found that Movants can intervene as of right, the Court need not reach Movants’ alternative request

of permissive intervention.

        For these reasons, IT IS ORDERED that Movants’ Motion to Intervene, (Dkt. 16), is

GRANTED.

        SIGNED on July 5, 2020.



                                                         _____________________________________
                                                         ROBERT PITMAN
                                                         UNITED STATES DISTRICT JUDGE




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